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                        IN THE UNITED STATES DISTIUCT COURT
                        FOR THE MIDDLI3Mattea ALABAMA
                                 NORitf1 DIVISION

IN RE:
                                         nIVANI -8 P          09,
                                                  VIACKETT.         ,
                                        DEBR)P,P.
DESTRUCTION OF FIREARMS                   US). DISTilt         AiNEOUS NO&
AND AMMUNITION                                    Oi,

                               MOTION FOR DESTRUCTION.
                             OF FIREARMS AND AMMUNITION

       Comes now the United States of America, by and through Louis V. Franklin, Sr., United

States Attorney, and R. Randolph Neeley, Assistant United States Attorney, both for the Middle

District of Alabama, and hereby moves this Court for an order, pursuant to 28 U.S.C. § 1651 (the

"All Writs Act"), authorizing the United States to destroy certain firearms and ammunition,stating

as follows:

       The United States Marshals Service Gulf Coast Regional Fugitive Task Force ("the

Agency") currently has in its possession firearms and ammunition seized by the Agency in

connection with various criminal investigations during the past several years. The firearms and

ammunition consist of: one Hi-Point Firearms, rnodel JHP, .45 caliber pistol, serial number

456097; one Rossi .38 caliber revolver, serial number Y112133; four rounds of Winchester .380

caliber ammunition; five rounds of Blazer .38 caliber ammunition; one box (45 rounds) of Blazer

.38 caliber ammunition; four rounds of Wolf.45 caliber ammunition; one SCCY 9mm handgun,

serial number 179938; one H & R 12 gauge shotgun, serial number CBA108790; one round of

9mm ammunition; and one SCCY 9mm magazine.

       Without an order of this Court authorizing destruction, the Agency will be required to

maintain custody and control ofthe firearms and ammunition for an indefinite period. There is no

corresponding benefit to the public in having the Agency maintain custody and control of these
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firearms and ammunition. Therefore, the United States requests the Court to issue the attached

Order which will permit the destruction of the firearms and ammunition.

                        ARGUMENT IN SUPPORT OF DESTRUCTION

       Currently, there is no specific statute authorizing the destruction of the property in the

circumstances described herein. However,the All Writs Act authorizes "[t]he Supreme Court and

all courts established by Act of Congress. . .[to] issue all writs necessary or appropriate in aid of

their respective jurisdictions and agreeable to the usages and principles of law." 28 U.S.C. §

1651(a). As the Supreme Court has explained,"[t]he All Writs Act is a residual source ofauthority

to issue writs that are not otherwise covered by statute." Pennsylvania Bureau ofCorrection v.

United States Marshals Service,474 U.S. 34,43(1985); see also, Harris v. Nelson, 394 U.S. 286,

299(1969)(quoting Price v. Johnson, 334 U.S. 266, 282(1948))(All Writs Act "has served .. .

as a legislatively approved source of procedural instruments designed to achieve the rational ends

of law.'").

                                             CONCLUSION

       Based upon the foregoing, the United States requests the Court's permission to destroy the

following property:

       (a) one Hi-Point Firearms, model JHP,.45 caliber pistol, serial number 456097;

       (b) one Rossi .38 caliber revolver, serial number Y112133;

       (c) four rounds of Winchester .380 caliber ammunition;

       (d) five rounds of Blazer .38 caliber ammunition;

       (e) one box (45 rounds) of Blazer .38 caliber ammunition;

       (f) four rounds of Wolf.45 caliber ammunition;

       (g) one SCCY 9mm handgun, serial number 179938;
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(h) one H & R 12 gauge shotgun, serial number CBA108790;

(i) one round of9mm ammunition; and,
a) one SCCY 9mm magazine.
Respectfully subrnitted this 8th day of May,2019.


                                    LOUIS V. FRANKLIN,SR.
                                    UNITE          ATTORNEY


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